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                                     UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION

           DONALD AGEE, JR. et al.,                        )
                                Plaintiffs,                )
                                                           )       No. 1:22-cv-272
           V.                                              )
                                                           )       Three-Judge Court
           JOCELYN BENSON, in her official                 )
           capacity as the Secretary of State              )
           of Michigan, et al.,                            )
                                  Defendants.              )
                                                           )

                        ORDER APPOINTING REVIEWING SPECIAL MASTER

           1. On January 11, 2024, we gave notice of our intent to appoint Dr. Bernard Grofman as

   Reviewing Special Master to evaluate the Commission’s remedial plan and to advise the court as

   to whether, in his opinion, that plan lawfully remedies the constitutional violations identified in

   this court’s December 21, 2023, opinion and order. Dr. Grofman has since confirmed his

   availability and has filed an affidavit affirming that he has no “relationship to the parties, attorneys,

   action, or court” that would require his disqualification under 28 U.S.C. § 455. See Fed. R. Civ.

   P. 53(a)(2), (b)(3)(A); ECF No. 161.

           2. On January 16, 2024, the plaintiffs objected to Dr. Grofman’s appointment, arguing that

   Dr. Grofman cannot be impartial given his “professional ties” to Dr. Lisa Handley, the

   Commission’s former Voting Rights Act expert, and to Mark Braden, the Commission’s new

   Voting Rights Act legal counsel. Specifically, the plaintiffs argue that, because Dr. Grofman has

   co-authored academic articles with Handley and has edited a book that includes a chapter by

   Braden, he cannot “provide an independent review” of the Commission’s remedial redistricting

   plan. On January 17, 2024, the Commission filed a response.




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          3. The plaintiffs’ objections are overblown. Dr. Grofman is a distinguished political

   scientist with more than 40 years’ experience in the areas of redistricting, voting rights, and

   political science methodology. He has co-authored five books, co-edited more than 20 others, and

   has written over 300 research articles and book chapters. It is therefore hardly surprising—and

   not at all concerning—that Dr. Grofman has worked with both Handley and Braden, each of whom

   has long experience in the areas of redistricting and voting rights. We are confident that Dr.

   Grofman’s prior professional relationships will not impact his ability to be impartial in this case.

          4. Moreover, the plaintiffs’ objections read as if this court will adopt as a matter of course

   whatever Dr. Grofman recommends regarding the legality of the Commission’s remedial

   districting plan. Yet Dr. Grofman, in his capacity as Reviewing Special Master, will provide the

   court with only a recommendation—not a ruling. We will make our own judgments about whether

   the Commission’s remedial plan cures the constitutional violations that we identified in our 116-

   page opinion and order. See ECF No. 131. The plaintiffs’ principal concern—namely, that Dr.

   Grofman will lead this court to accept “the same ill-fated VRA analysis” that we previously

   rejected—is therefore misplaced.

          5. In addition, Dr. Grofman is undisputedly one of the most experienced and respected

   experts in the field of redistricting. Dr. Grofman has participated in dozens of redistricting cases

   as an expert witness or special master—including, most notably, by serving as a court-appointed

   special master to draw or review remedial districting plans in Utah, New York, Georgia, Virginia,

   and Wisconsin. He has also consulted for the Department of Justice, for both major political

   parties, and for various civil rights groups such as the NAACP Legal Defense and Educational

   Fund. In 2017, Dr. Grofman won the American Political Science Association’s Charles Merriam




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   award, which is awarded biennially to a scholar whose published work and career represent a

   significant contribution to the art of government through applied social science research.

          6. We therefore conclude that Dr. Grofman’s opinion—specifically, as to whether the

   Commission’s remedial districting plan lawfully remedies the constitutional violations previously

   identified by this court—would be of considerable value to us during the remedial map-drawing

   process. The plaintiffs’ objections are overruled.

          IT IS HEREBY ORDERED that:

      1. Pursuant to Federal Rule of Civil Procedure 53, we appoint Dr. Bernard Grofman as a

          Reviewing Special Master, subject to the conditions set forth below and to the requirements

          of Federal Rule of Civil Procedure 53(b)(2).

      2. The Reviewing Special Master is empowered and charged with the duty to evaluate the

          Commission’s remedial plan and to advise the court as to whether, in his opinion, that plan

          lawfully remedies the constitutional violations identified in this court’s December 21,

          2023, opinion and order. See ECF No. 131. Dr. Grofman will also advise the court

          regarding Dr. Barber’s plan in the event that the court asks him to do so.

      3. The Reviewing Special Master shall submit to this court—on the public docket, by March

          15, 2024—his report regarding whether the plan adopted by the Commission lawfully

          remedies the constitutional violations identified in this court’s December 21, 2023, opinion

          and order. The parties may each file briefs commenting on the Reviewing Special Master’s

          report no later than March 20, 2024.

      4. The Reviewing Special Master is authorized to retain appropriate assistants as may be

          reasonably necessary for him to accomplish his task within the time constraints imposed

          by this Order.



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      5. The Reviewing Special Master and his assistants may not engage in ex parte

         communications with the parties or their counsel. The Reviewing Special Master may

         engage in ex parte communication with this court.

      6. The Reviewing Special Master shall maintain orderly files consisting of any written

         findings and recommendations. All other materials relating to the Reviewing Special

         Master’s work should be preserved until relieved of this obligation by this court.

      7. All reasonable costs and expenses of the Reviewing Special Master, including reasonable

         compensation for that person and any assistants he may retain, shall (subject to the court’s

         approval) be paid by the Michigan Independent Citizen’s Redistricting Commission. The

         Reviewing Special Master shall take care to protect against unreasonable expenses.



   IT IS SO ORDERED.

   Date: January 18, 2024                          /s/ Raymond M. Kethledge___
                                                       Raymond M. Kethledge
                                                       United States Circuit Judge

                                                   /s/ Paul L. Maloney_________
                                                       Paul L. Maloney
                                                       United States District Judge

                                                   /s/ Janet T. Neff____________
                                                       Janet T. Neff
                                                       United States District Judge




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